Case 2:23-cv-01533-KK-SK       Document 83 Filed 06/28/24      Page 1 of 1 Page ID
                                     #:2424


                                                                                  JS-6
 1
 2
 3
 4
 5
 6
                            UNITED STATES DISTRICT COURT
 7
                         CENTRAL DISTRICT OF CALIFORNIA
 8
 9
10    DANIEL TORRES, ET AL.,                        Case No. CV 23-1533-KK-SKx
11                                 Plaintiff,
12                        v.                        JUDGMENT
13    UNITED HEALTHCARE
      INSURANCE CO., ET AL.,
14
                                   Defendant.
15
16
17         Pursuant to the Order Denying Plaintiff’s Motion for Judgment and Granting
18   Defendant’s Motion for Judgment, IT IS HEREBY ADJUDGED that Judgment is
19   entered in favor of Defendant United Healthcare Insurance Co. Plaintiff’s First
20   Amended Complaint against Defendant is hereby DISMISSED with prejudice. (JS-6)
21
22   Dated: June 28, 2024
23                                              HONORABLE KENLY KIYA KATO
                                                United States District Judge
24
25
26
27
28
